                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION
                                                )
EFREN NUNEZ RIVERA, and PEDRO                   )
INFANTE, on behalf of themselves and all        )
other similarly situated persons, known and     )     Case No: 1:23-cv-14292
unknown,                                        )
                                                )     Hon. Judge Elaine E. Bucklo
                                                )
                 Plaintiffs,                    )     Hon. Mag. Judge Young B. Kim
                                                )
v.                                              )     Jury Trial Demanded
                                                )
PLATEIA, INC., d/b/a MEDITERRANEAN              )
KITCHEN BAR, DIMITRI DOUVLIS,                   )
Individually, and PETROS PAPADATOS,             )
Individually,                                   )
                                                )
                 Defendants.                    )
                               Parties’ Updated Joint Status Report

         This joint status report is submitted by the parties’ pursuant to the Court’s August 22, 2024,

Order. On August 22, this Court set a deadline of August 24, 2024, for Defendants to produce Rule

26(a) disclosures. No disclosures were received by that date, and Defendants did not respond to Rule

37.2 correspondence. ECF No. 24. Accordingly, on September 17, 2024, Plaintiff moved to compel

production of these disclosures. ECF No. 24. Defendants failed to respond, so this Court granted

Plaintiffs’ Motion, ordering their production on or by October 22, 2024. Those disclosures remain

outstanding.

         Plaintiffs issued written discovery on August 22, 2024. Those responses were due on or by

September 23, 2024 (30 days from issuance was September 21, 2024, a Saturday). Those requests all

remain outstanding. Defendants have yet to issue written discovery.

         Plaintiff filed a Motion to for Conditional Certification and Issuance of Notice, for which a

briefing schedule was set on September 17, 2024. ECF Nos. 20-23; 26. Defendants failed to respond



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by October 8, 2024, the date for response set by this Court. ECF No. 26.

        The parties are currently scheduled for a private mediation, set for November 22, 2024.




 Date: November 14, 2024


/s/ Max P Barack                                     /s/ Ethan G. Zelizer
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